
In re: Scott A. Fruchtnight and Susan F. Schoen, applying for writs of certiorari, prohibition and mandamus. Parish of Jefferson.
Writ granted.
The petition of the relators in the above entitled and numbered case having been duly considered,
It is ordered that a writ of certiorari issue herein, directing the Honorable Alvin Rudy Eason, Judge of the 24th Judicial District, Court for the Parish of Jefferson, to transmit to the Supreme Court of Louisiana, on or before the 15th day of December, 1978, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relators herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on a date to be determined by this Court, why the relief prayed for in the petition of the relator should not be granted.
